          Case 4:18-cr-00455 Document 132 Filed on 05/10/19 in TXSD Page 1 of 2


UNITED STATES DISTRICT COURT                    SOUTHERN DISTRICT OF TEXAS
          United States of America                       Houston Division
                     v.
                                           Criminal No. H-18-455
           Jaimian Rashaad Sims
                                                          EXHIBIT LIST

The exhibit list of the United States of   AUSAs: Sherri Zack and Kimberly Leo
America is filed in reliance on Local
Criminal Rule 55.2 for authenticity of
exhibits and the procedure for objecting
thereto
Judge: David Hittner                       Case Manager:           Reporter:
                                           Ellen Alexander
   No.                     Description              Offered   Objected   Admit=d   Date
    1         Photos from the mansion
    2         Jane Doe’s phone
    3         Jane Doe’s text messages
    4         Jane Doe’s birth certificate
    5         Photos from November 23, 2017
    6         Hotel records
    7         JLean Instagram
    8         Karma V Instagram
    9         atmgee_ Instagram
    10        Photos from Express Inn
    11        Photo array shown to Jane Doe
    12        Sauce Walka Remix disc
    13        Sauce Walka 7:30 disc
   13.1       Sauce Walka 7.30 Feat. Sauce Lean
   13.2       Still photo with Jaimian Sims and
              Tabbitha Magness
   13.3       Still photo with Jaimian Sims and
               “Kitty”
   13.4       Sauce Lean and Sancho Saucy talks
              TSF and new music coming
   13.5       7:30 lyrics
    14        Sauce Walka – A lot of That disc
   14.1       Sauce Walka – A lot of That lyrics
    15        Jaimian Sims’ statement
    16
    17
      Case 4:18-cr-00455 Document 132 Filed on 05/10/19 in TXSD Page 2 of 2

No.                   Description               Offered   Objected   Admit=d   Date
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